           Case 3:19-cv-00807-RS Document 119 Filed 11/25/20 Page 1 of 5




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14                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

15    Innovation Law Lab, et al.,                       CASE NO.: 3:19-CV-00807-RS

16                    Plaintiffs,                       JOINT MOTION & STIPULATION TO
                                                        PARTIALLY UNSEAL FILINGS UNDER
17                                                      LOCAL RULE 7-11
                      v.
18
      Kirstjen Nielsen, et al.,
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                      Defendants.
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       JOINT MOTION & STIPULATION TO PARTIALLY UNSEAL FILINGS UNDER LOCAL
                                     RULE 7-11
                             CASE NO.: 3:19-cv-00807-RS
          Case 3:19-cv-00807-RS Document 119 Filed 11/25/20 Page 2 of 5



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     *Admitted pro hac vice
25   **Application for pro hac vice pending
     ***Pro hac vice application forthcoming
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      JOINT MOTION & STIPULATION TO PARTIALLY UNSEAL FILINGS UNDER LOCAL
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                             CASE NO. 3:19-cv-00807-RS
             Case 3:19-cv-00807-RS Document 119 Filed 11/25/20 Page 3 of 5




 1
        JOINT MOTION & STIPULATION TO PARTIALLY UNSEAL FILINGS UNDER
 2
                                               LOCAL RULE 7-11
 3
              Plaintiffs move under Local Rule 7-11 to partially unseal the Notices to Appear (“NTAs”) for
 4
     the individual Doe Plaintiffs filed in this case on March 1, 2019. See ECF No. 44; see also ECF No.
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 6   74 (order granting motion to seal). Defendants join Plaintiffs in that request.

 7            The Supreme Court of the United States has granted a petition for a writ of certiorari to review

 8   the judgment of the court of appeals affirming this Court’s preliminary injunction in this case. See
 9   Wolf v. Innovation Law Lab, No. 19-1212 (S. Ct.), cert. granted Oct. 19, 2020. Pursuant to Supreme
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     Court Rule 26, Plaintiffs and Defendants have agreed to include excerpts of the Doe Plaintiffs’ NTAs
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     in their Joint Appendix, which will be publicly available when filed in the Supreme Court. Filing
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     these documents as part of the Joint Appendix will facilitate the Supreme Court’s consideration of this
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14   case.

15            The parties are submitting the proposed redacted excerpts to the NTAs as Ex. A to this motion.

16   The parties agree that the public filing of these excerpts will not affect the interests identified in
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     Defendants’ motion to seal, ECF No. 44, because the parties have redacted all personal information
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     that could identify the Plaintiffs. Accordingly, the parties move this Court to partially unseal the NTAs,
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     which will allow excerpted and redacted versions of these documents to be filed as part of their Joint
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     Appendix to the Supreme Court.
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        JOINT MOTION & STIPULATION TO PARTIALLY UNSEAL FILINGS UNDER LOCAL
                                      RULE 7-11
                               CASE NO. 3:19-cv-00807-RS
         Case 3:19-cv-00807-RS Document 119 Filed 11/25/20 Page 4 of 5




 1
     Dated: November 25, 2020                Respectfully submitted,
 2
                                                  /s/ Judy Rabinovitz
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                                    RULE 7-11
                             CASE NO. 3:19-cv-00807-RS
           Case 3:19-cv-00807-RS Document 119 Filed 11/25/20 Page 5 of 5




 1                                      CERTIFICATE OF SERVICE

 2   I hereby certify that on November 25, 2020, I caused a PDF version of the foregoing document to be
 3   electronically transmitted to the Clerk of the Court, using the CM/ECF system for filing and mailed
 4   courtesy copies to all necessary parties using certified mail.
 5   Dated: November 25, 2020
 6                                                                    /s/ Judy Rabinovitz
                                                                      Judy Rabinovitz
 7                                                                    Attorney for Plaintiffs
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        JOINT MOTION & STIPULATION TO PARTIALLY UNSEAL FILINGS UNDER LOCAL
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                               CASE NO. 3:19-cv-00807-RS
